Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                           Document     Page 1 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                           Document     Page 2 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                           Document     Page 3 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                           Document     Page 4 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                           Document     Page 5 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                           Document     Page 6 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                           Document     Page 7 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                           Document     Page 8 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                           Document     Page 9 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                          Document      Page 10 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                          Document      Page 11 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                          Document      Page 12 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                          Document      Page 13 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                          Document      Page 14 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                          Document      Page 15 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                          Document      Page 16 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                          Document      Page 17 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                          Document      Page 18 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                          Document      Page 19 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                          Document      Page 20 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                          Document      Page 21 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                          Document      Page 22 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                          Document      Page 23 of 24
Case 15-11569   Doc 186   Filed 07/02/18 Entered 07/02/18 16:34:05   Desc Main
                          Document      Page 24 of 24
